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                                                                                         Exhibit B
                                                                                          Service List


             Description                                     Name                                 Address                        Email                    Method of Service
US Trustee for the District of DE       Office of the United States Trustee   District of Delaware               Richard.Schepacarter@usdoj.gov   Email
                                                                              Attn: Richard L Schepacarter
                                                                              844 King St, Ste 2207
                                                                              Lockbox 35
                                                                              Wilmington, DE 19801
Counsel to Azim Ghader                  Womble Bond Dickinson (US) LLP        Attn: Donald J. Detweiler          don.detweiler@wbd‐us.com         Email
                                                                              Attn: Elazar A. Kosman             elazar. kosman@wbd‐us.com
                                                                              1313 N Market St, Ste 1200
                                                                              Wilmington, DE 19801




Desolation Holdings LLC, et al., (Case No. 23‐10597)
